       Case: 1:22-cr-00460 Document #: 5 Filed: 09/22/22 Page 1 of 1 PageID #:10


                   U.S. District Court for the Northern District Of Illinois
                                 Attorney Appearance Form


Case Title: United States Of America                       Case Number: 1:22-cr-00460-1
            v.
            Emil Jones, III
An appearance is hereby filed by the undersigned as attorney for:
Emil Jones III
Attorney name (type or print): Zeke Katz

Firm: Bryan Cave Leighton Paisner LLP

Street address: 161 North Clark Street, Suite 4300

City/State/Zip: Chicago, IL 60601

Bar ID Number: 6317470                                     Telephone Number: 312-602-5000
(See item 3 in instructions)

Email Address: zeke.katz@bclplaw.com

Are you acting as lead counsel in this case?                                         Yes           No

Are you acting as local counsel in this case?                                        Yes           No

Are you a member of the court’s trial bar?                                           Yes           No

If this case reaches trial, will you act as the trial attorney?                      Yes           No

If this is a criminal case, check your status.                        Retained Counsel
                                                                      Appointed Counsel
                                                                      If appointed counsel, are you
                                                                      a
                                                                          Federal Defender
                                              CJA Panel Attorney
______________________________________________________________________
In order to appear before this Court an attorney must either be a member in good standing of this Court’s
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
I declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on 9/22/2022

Attorney signature:            S/ Zeke Katz
                               (Use electronic signature if the appearance form is filed electronically.)
                                                                                               Revised 8/1/2015
